              Case No. 1:11-cv-00511-MSK-KMT Document 1-3 filed 03/02/11 USDC Colorado pg 1 of 2
OJS 44     (Rev. 11/04)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INS TR UC TIO NS ON TH E R EV ER SE O F TH E FO RM .)

I. (a)       PLAINTIFFS                                                                                                 DEFENDAN TS
              United States of America                                                                                   18,753 Comic Books, et. al.

    (b) County of Residence of First Listed Plaintiff                                                                   County of Residence of First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                          ( IN U . S. PL A IN T IF F C A S ES O N LY )
                                                                                                                                  NOTE:       IN L A N D CO N D E M N A T I O N CA SE S, U SE T H E LO C A TIO N O F TH E
                                                                                                                                               L A N D IN V O L V ED .


    (c) Attorney’s (Firm Na me, A ddres s, and Telep hone N umbe r)                                                      Attorneys (If Known)

             AUSA Martha A. Paluch, 1225 17th St, #700 Denver, C0, 303-454-0100

II. BASIS OF JURISDICTION                              (Place an “X ” in One B ox Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Pla ce an “ X ” in O ne B ox fo r Pla intiff
                                                                                                                     (For Diversity Cases O nly)                                                     and O ne Bo x for De fendant)

✔   1     U.S. G overnment                   3 Federal Question
                                                                                                              PTF
                                                                                                                                                                DEF                                                   PTF      DEF
             Pla intiff                             (U.S. G overnment N ot a Party)                           Citizen o f This State                    1          1     Incorporated or Principal Place               4         4
                                                                                                                                                                           of Busine ss In T his State

   2     U.S. G overnment                   4   Divers ity                                                  Citizen o f Anothe r State                2           2    Incorporated and Principal Place              5         5
             Defenda nt                                                                                                                                                       of Busine ss In A nother S tate
                                                    (Indicate C itizenship of Pa rties in Item III)

                                                                                                              Cit ize n or Su bje ct o f a              3           3    Foreign Nation                                6         6
                                                                                                                 Foreign C ountry
IV. NAT UR E O F SU IT                   (Place an “X ” in One B ox Only)
           CONTRACT                                                TORTS                                      F O R F E I TU R E /P E N A L T Y                    BANKRUPTCY                               OTHER STATUTES
    110 Insurance                         P E R S O N A L IN J U R Y           P E R S O N A L IN J U R Y           610 Agriculture                           422 Appeal 28 USC 158                    400 S tate Reap portionment
    120 M arine                            310 A irplane                        362 P ersonal Injury -              620 O ther Food & Drug                    423 Withdrawal                           410 Antitrust
    130 Miller Act                         315 Airplane Product                     Med. M alpractice           ✔   625 Drug Re lated Se izure                   28 USC 157                            430 B anks and B anking
    140 N egotiable Instrument                 Liability                       365 P ersonal Injury -                    of Property 21 USC 881                                                        450 Commerce
    150 R ecovery of O verpayment          32 0 A ssa ult, L ibe l &                Prod uct Liability              6 3 0 L iq uo r L aw s                    P R O P E R T Y R IG H T S               460 Deportation
       & E nforcement of Judgment              Slander                         368 Asbestos Personal                640 R.R. & Truck                          820 Co pyrights                          470 R acketeer Influenced and
    151 Medicare Act                       330 Federal Employers’                   Injury Product                  650 Airline Regs.                         830 P atent                                  Corrupt O rganizations
    152 Recovery of Defaulted                  Liability                            Liability                       660 Occupational                          840 Trad ema rk                          48 0 C ons ume r C red it
       Student Loans                       340 M arine                      P E R S O N A L P R O PE R T Y               Safety/H ealth                                                                490 Cable/Sat TV
       (Excl. Veterans)                    345 Marine Product                  370 O ther Fraud                     690 Other                                                                          810 Selective Service
    153 R ecovery of O verpayment              Liability                       371 T ruth in Lending                            LABOR                         S O C IA L S E C U R IT Y                850 Securities/Commodities/
        of Ve teran’s Bene fits            35 0 M oto r V ehic le              380 Other Personal                   710 Fair Labor Standards                  86 1 H IA (13 95 ff)                         Exchange
    160 Stock holders ’ Suits              35 5 M oto r V ehic le                   Property D amage                     Act                                  862 Black Lung (923)                     875 C ustomer C hallenge
    190 Other Contract                         Prod uct Liability              385 P roperty Da mage                720 La bor/M gmt. Relations               863 DIW C/D IW W (405 (g))                   12 USC 3410
    195 Co ntract Pro duct Liab ility      360 Other Personal                       Prod uct Liability              730 La bor/M gmt.Repo rting               8 6 4 S S ID T it le X V I               890 O ther Statutory Actions
    196 Franchise                              Injury                                                                    & Disclosure Act                     865 RS I (405 (g))                       891 Agricultural Ac ts
      REAL PROPERTY                          C I V IL R I G H T S           P R I SO N E R P E T I TI O N S         740 Railway Labor Act                     F E D E R A L T A X SU I T S             892 Economic Stabilization Act
    210 Land Condemnation                  441 V oting                         510 M otions to V acate              790 Other Labor Litigation                87 0 T axe s (U .S. Pla intiff           893 Environm ental M atters
    220 Forec losure                       442 E mployment                         Sentence                         791 Empl. Ret. Inc.                            or D efenda nt)                     894 Energy Allocation Act
    230 R ent Lease & Ejectment            443 H ousing/                       Habeas Corpus:                            Security Act                         871 IRS — Third Pa rty                   895 Freedom of Information
    240 T orts to Land                         Acco mmod ations                530 General                                                                         26 USC 7609                             Act
    245 Tort P roduc t Liability           444 W elfare                        535 De ath Pe nalty                                                                                                     900Appeal of Fee Determination
    290 All Othe r Re al Prop erty         445 Amer. w/Disabilities -          540 Mandamus & O ther                                                                                                       Under Equal Access
                                               Employme nt                     550 Civil Rights                                                                                                            to Justice
                                           446 Amer. w/Disabilities -          555 Prison Condition                                                                                                    950 Constitutionality of
                                               Other                                                                                                                                                       State Statutes
                                           440 Othe r Civil Rights


V. O RIG IN                    (Place an “X ” in One B ox Only)                                                                                                                                                   Appeal to District

✔ 1
     Original                 2 Removed from                   3 Remanded from                       4 Reinstated or  5 Transferred from
                                                                                                                            another district  6 Multidistrict                                               7 Judge from
                                                                                                                                                                                                                Magistrate
          Proceeding                State Court                    Appellate Court             Reopened               (specify)                 Litigation                                                        Judgment
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              21 U.S.C. 881
VI. CAUSE OF ACTION                           Brief description of cause:
                                              Forfeiture
VII. RE QU EST ED IN                              CHECK IF THIS IS A CLASS ACTION                                  DEMAND $                                             CHECK YES only if demanded in complaint:
     COM PLAINT:                                   UNDER F.R.C.P. 23                                                                                                     JURY DEMAND:          Yes      No
DATE                                                                           S IG N A T U R E O F A TT O R N E Y O F R E C O R D

3/2/2011                                                                        s/Martha A. Paluch
FOR OFFICE USE ONLY


    RECEIPT #                       AMOUNT                                        APPLY ING IFP                                              JUDGE                                  M A G . JU D G E




 Save a Copy                            Print a Copy                              Reset
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                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
